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                           IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


RENEA M. HECT,

        Plaintiff,

vs.                                                            No. CIV 99-76 LCS/KBM-ACE

RAYTHEON COMPANY,

        Defendant.


                           MEMORANDUM OPINION AND ORDER

        THIS MATTER came before the Court on Defendant’s Motion for Protective Order

(Doc. 73), filed December 8, 1999 and Plaintiff’s Second Motion to Compel Production of

Documents (Doc. 76), filed December 17, 1999. Judge Leslie C. Smith held a hearing in this

matter, and determined that an in camera review of certain material should be performed. Judge

Smith then asked that I perform this review as the Magistrate Judge to whom discovery matters

are referred. I have conducted an in camera review of documents submitted by Defendants, and

have reviewed the transcript of the examination of Gerard Gasperini by Mr. Weinbrenner. After

considering the relevant law, the Court finds that Defendant’s Motion for Protective Order is not

well taken and it shall be denied. The Court also finds that Plaintiff’s Second Motion to Compel

is well taken and it shall be granted.

        Defendant argues that the information sought by Plaintiff’s counsel from Mr. Gasperini is

subject to the attorney-client privilege. The attorney-client privilege as interpreted under federal

law, rather than state law, applies in this case because Plaintiff’s claims are brought under Title

VII, 42 U.S.C. § 2000e. See Fed. R. Evid. 501. To establish that the attorney-client privilege
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applies, Defendant must show that there was a communication between privileged persons for the

purpose of seeking, providing or obtaining legal advice, and that the privilege was not waived.

See Motley v. Marathon Oil Co., 71 F.3d 1547 (10th Cir. 1995). The party asserting the privilege

has the burden of establishing that it applies. See United States v. Lopez, 777 F.2d 543, 552 (10th

Cir. 1985). The mere fact that an attorney is involved in the communication is not sufficient to

show that the communication was for the purpose of seeking, providing or obtaining legal advice.

See Motley, 71 F.3d at 1551.

       After reviewing the transcript of the interview of Mr. Gasperini by Mr. Weinbrenner, only

two oral communications from Gasperini could be construed to be “for the purpose of providing

legal advice,” specifically, Gasperini’s response to Question 15 at the bottom of Page 9 and his

response to Question 20 at the top of Page 14. Similarly, the only written materials that might

contain communications for the purpose of providing legal advice would be the last page of

Gasperini’s notes and annotations to the discipline recommended on Jan Miele’s spreadsheet,

which covers essentially the same topics as the aforementioned interview questions. The

remainder of the interview by Mr. Weinbrenner, and the rest of Mr. Gasperini’s notes, focus on

the nature of the investigation into Ms. Hect’s allegations and clearly do not involve the type of

information that would be privileged.

       Although these two written and two oral communications from Mr. Gasperini may have

been made for the purpose of providing legal advice, I find that Defendant has waived any

privilege as to these communications. Defendant has failed to establish that these communications

were made with any expectation that they would be kept in confidence, and to the extent that

other Raytheon participants have discussed what transpired at that meeting, the privilege has been


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waived. Further, by raising the affirmative defense that it took prompt remedial action, Defendant

has waived the privilege to the extent it is necessary for Plaintiff to obtain sufficient information to

effectively respond to the defense. See, e.g., Brownell v. Roadway Package Sys., Inc., 185 F.R.D.

19, 25 (N.D.N.Y. 1999). The allegedly privileged information is clearly relevant to the

affirmative defense. Balancing any unwaived privilege that might remain against Plaintiff’s need

to obtain the information, I find that the Plaintiff should be allowed to obtain the sought-after

information.

        WHEREFORE, IT IS ORDERED that Defendant’s Motion for Protective Order

(Doc. 73) is denied.

        IT IS FURTHER ORDERED that Plaintiff’s Second Motion to Compel (Doc. 76) is

granted.




                                                        KAREN B. MOLZEN
                                                        United States Magistrate Judge

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